                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE

 UNITED STATES OF AMERICA                              )
                                                       )
                v.                                     )       No. 2:12-CR-58
                                                       )       JUDGE GREER
 ANTHONY LAMONT SINGLETON                              )

                                 SENTENCING MEMORANDUM

        Comes now the United States of America, by and through William C. Killian, United

 States Attorney for the Eastern District of Tennessee, and files this sentencing memorandum in

 compliance with the Court’s Order.

        The presentence investigation report for ANTHONY LAMONT SINGLETON correctly

 sets forth the pertinent sentencing factors of 18 U.S.C. § 3553(a), the correct advisory guideline

 calculation of 110 to 120 months incarceration pursuant to U.S.S.G. § 2B1.1, and correct

 criminal history level calculation of VI. The United States objects to any downward departure

 or variance from the correctly calculated sentencing guideline range.

                                                       Respectfully submitted,

                                                       WILLIAM C. KILLIAN
                                                       United States Attorney

                                               By:     s/ J. Gregory Bowman
                                                       J. GREGORY BOWMAN
                                                       Assistant U.S. Attorney
                                                       220 West Depot Street, Ste. 423
                                                       Greeneville, TN 37743
                                                       423/639-6759

                                   CERTIFICATE OF SERVICE

         I hereby certify that on March 8, 2013 a copy of the foregoing Sentencing Memorandum
 was filed electronically. Notice of this filing will be sent by operation of the Court’s electronic
 filing system to all parties indicated on the electronic filing receipt. All other interested parties
 will be served by regular U.S. Mail. Parties may access this filing through the Court’s electronic
 filing system.
                                               By:     s/ J. Gregory Bowman
                                                       J. GREGORY BOWMAN
                                                       Assistant U.S. Attorney


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